                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                  SOUTHERN DIVISION
                                     No. 7:23-CV-897

IN RE:                                                 )
                                                       )
CAMP LEJEUNE WATER LITIGATION                          )
                                                       )
THIS PLEADING RELATES TO:                              )
                                                       )
McBrine v. United States, No. 7:23-cv-532-M            )
Petrie v. United States, No. 7:23-cv-00202-D           )

    PLAINTIFFS’ MOTION TO CERTIFY FOR APPEAL THE ORDER GRANTING
     DEFENDANT’S MOTION TO STRIKE THE DEMAND FOR A JURY TRIAL

         The Plaintiffs’ Leadership Group (PLG), on behalf of Plaintiffs Susan McBrine (No. 7:23-

cv-00532-M-RJ) and David L. Petrie (No. 7:23-cv-00202-D-BM), moves the Court to certify for

immediate appellate review, under 28 U.S.C. § 1292(b), its Order (D.E. 133) granting Defendant’s

Motion to Strike the Demand for a Jury Trial (D.E. 51). Section 1292(b) provides that interlocutory

orders involving “a controlling question of law as to which there is substantial ground for

difference of opinion” can be immediately appealed if doing so “may materially advance the

ultimate termination of the litigation.” For the reasons set forth in the PLG’s contemporaneously

filed memorandum of law, an immediate appeal of the Court’s jury-trial Order is warranted under

those criteria.1




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             The government has informed the PLG that it is considering its position on this
motion.

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             Case 7:23-cv-00897-RJ Document 137 Filed 02/14/24 Page 1 of 3
February 14, 2024                                 Respectfully submitted,

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                                              2

        Case 7:23-cv-00897-RJ Document 137 Filed 02/14/24 Page 2 of 3
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                                          3

         Case 7:23-cv-00897-RJ Document 137 Filed 02/14/24 Page 3 of 3
